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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION

 UNITED STATES OF AMERICA,
                                                          CR 03-77--BLG-SPW-05
                        Plaintiff,

  vs.                                                       ORDER

  JESSE BASSINGER,

                        Defendant.

        Upon the Defendant's Motion for Early Termination of Supervision (Doc.

362), pursuant to 18 U.S.C. § 3583(e)(l) and Fed. R. Crim. P. 32.l(c)(2), and good

cause being shown,

        IT IS HEREBY ORDERED that the Defendant's motion is GRANTED.

Jesse Bassinger's supervision is terminated as of the date of this Order.

        The Clerk shall notify the U.S. Probation Office of the making of this Order.
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        DATED this .d.:._ day of January 2018.       J}
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                                                 United States District Judge
